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 1 MICHAEL W. BIEN – 096891                        OREN NIMNI*
   ERNEST GALVAN – 196065                           Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                        AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                   Md. Bar No. 2112150205
 3 ROSEN BIEN                                      D DANGARAN*
   GALVAN & GRUNFELD LLP                            Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor                 RIGHTS BEHIND BARS
   San Francisco, California 94105-1738            416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                       Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                     Telephone: (202) 455-4399
 6              egalvan@rbgg.com                   Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                               amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                        d@rightsbehindbars.org
                                                   *
 8 SUSAN M. BEATY – 324048                             Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                               UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                            Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of            DECLARATION OF C
   themselves and all others similarly situated,             D     IN SUPPORT OF
17               Plaintiffs,
                                                             PLAINTIFFS’ MOTIONS FOR
                                                             PRELIMINARY INJUNCTION
18        v.                                                 AND PROVISIONAL CLASS
                                                             CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4247006 3]
                   DECLARATION OF C      D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                      PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, C      D      , declare:
 2                 1.      I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.      I have been incarcerated at FCI Dublin since July 2019. In the future, BOP
 6 may transfer me to other BOP facilities but at any point I could be transferred back to FCI
 7 Dublin.
 8                 3.      FCI Dublin’s inadequate systems for preventing, detecting, and responding
 9 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
10 and put myself and other incarcerated persons at substantial, imminent risk of serious harm
11 from sexual assault, harassment, and retaliation from staff.
12                 4.      In 2020, I lived in Unit A. While there, Officer Chavez began to bring my
13 bunkie gifts like food, medicine, and MP3 players. I saw him bring her those things and I
14 could tell it was making them closer. I heard Officer Chavez make romantic comments to
15 her and she told me he gave her family money to buy her son a PlayStation 4. She also
16 told me Officer Chavez bought her a house in Mexico. Over time, I became terrified that
17 he would come into my room and assault her because of all the gifts he had given her.
18                 5.      In the summer of 2020, my roommate told me that she performed oral sex on
19 Officer Chavez after she returned to our room with blood on her underwear. She told me
20 he would have her work late with him during COVID lockdown so they could have sex
21 and then have sex with her in the freezer. My bunkie and I would speak about these things
22 in code—we used a nickname for Officer Chavez—and she pretended he was her
23 boyfriend from home, as we did not want other people or our other cellmates to pick up on
24 what was going on.
25                 6.      In July 2021, I also worked with J.L. in the kitchen. I witnessed Officer
26 Jones stand outside of the freezer while J.L was inside and then go inside the freezer with
27 her. He would tell me to go back and keep watch. I also witnessed Officer Jones tell J.L.
28 that he would “beat her ass” after J.L. said that she was scared to go back to work in the
     [4247006 3]                                           2
                        DECLARATION OF C      D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                           PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 kitchen. Officer Jones would call her into work when she didn’t want to go. I could see she
 2 was becoming depressed, and I was feeling stressed and afraid because of it too.
 3                 7.      Even newer staff members have engaged in sexual misconduct. In the last
 4 year, multiple officers have been walked off for sexually abusing incarcerated people. For
 5 example, Lt. Jones was recently walked off. Before she was walked Lt. Jones made us
 6 take off our outer clothes and stand barefoot on the concrete in the middle of the
 7 compound while she searched us in front of male officers. I also saw her search women in
 8 front of male officers, which staff are not supposed to do.
 9                 8.      There is no effective way to confidentially report sexual assault and abuse by
10 staff at FCI Dublin. I do not feel safe talking to FCI Dublin staff to other staff who work
11 here. It is well known that all of the staff “look out” for each other. They have each
12 other’s backs. Their sexual abuse is so normalized. It’s also very difficult to file written
13 grievances against staff people. No one explains to us how to file a grievance, and
14 oftentimes the forms are not available in the units. Also, we have been on COVID-19
15 lockdown for long periods of time during the past few years, which has made reporting
16 very difficult. I did not feel comfortable submitted a grievance until after I spoke to an
17 attorney and even then I was only comfortable sending it to the regional office, not to the
18 institution directly. I submitted one to the regional office several months ago but still have
19 not received a response. We can’t tell our family and friends because all of our regular
20 communications, like calls and email and post mail, are monitored by staff. I ncoming and
21 outgoing mail also take a very long time.
22                 9.      Staff at FCI Dublin prevent people from reporting sexual assault and abuse
23 by staff and retaliate against people who do report. I am still afraid to submit a grievance
24 directly to the facility. Officers say, “you think we don’t see you reporting on us—we see
25 everything.” If you report a staff person, the rest of the staff look at you and treat you
26 differently. They search your room and make your life as difficult as possible. After the
27 Warden was walked off, staff were made and started punishing us. They yelled at us and
28 searched our cells and our lockers all the time and made a mess of our things for no reason.
     [4247006 3]                                          3
                        DECLARATION OF C      D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 Just by writing this declaration I am afraid that BOP will send me to the SHU or ship me
 2 away to another facility.
 3                 10.   When we do report sexual assault and abuse by staff, FCI Dublin and BOP
 4 do not take our reports seriously. Generally nothing happens as a result. I once spoke to
 5 Lt. Putnam about the staff abuse that I witnessed. I gave him my notes and he scanned my
 6 notes, but there was never any follow-up.
 7                 11.   There is no confidential mental health care available to survivors of sexual
 8 abuse and assault at FCI Dublin. After I witnessed staff abusing people I was struggling
 9 mentally. I asked for psychological support, but never got anything back from that. I don’t
10 want to see my unit psychologist because I am afraid they will tell staff what I tell them
11 because they are all friends.
12                 12.   There is little to no medical care available to survivors of sexual abuse and
13 assault at FCI Dublin. For several months there was no medical doctor at the facility. I
14 witnessed a woman rely on other incarcerated people to help her shower and perform tasks
15 after a surgery. There was no staff support. I have seen a woman have multiple seizures
16 following fire alarms, and there is not a fast response. Whenever people go to medical,
17 they are not seen. I had a bruise after falling off my bunk I was very concerned about, and
18 I went to medical only to be turned away. After getting COVID, I had no taste or smell for
19 a year, but I was unable to get help. There is also mold in the showers, the hot water goes
20 out sometimes for days at a time, and they give us expired food.
21                 13.   Staff at FCI Dublin have never worn body-worn cameras in the facility and
22 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
23 cameras. There are some cameras installed in fixed locations in the facility, but it is well
24 known that there are no cameras in other areas and there is no way to tell if the cameras are
25 working, where they are pointing, or whether they are being monitored.
26 / / /
27 / / /
28 / / /
     [4247006 3]                                         4
                     DECLARATION OF C      D     IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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